Case 9:23-cv-00061-DLC Document 4-2 Filed 05/23/23 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
MISSOULA DIVISION

 

TIKTOK INC,

Plaintiff,
CV-23-61-DLC
Vv.
ORDER GRANTING MOTION
FOR PRO HAC VICE ADMISSION
OF MEGAN A, CROWLEY

AUSTIN KNUDSEN, in his official
capacity as Attorney General of the

State of Montana,

Defendant.

Nes” Nome’ oem! “mae” “nee” “ree” “tame” “mee Neem “meet! See” “eee “ieee”

 

Plaintiff has moved for the admission of Megan A. Crowley to practice before
this Court in this case with Rob Cameron and Nathan D. Bilyeu to act as local
counsel. Ms. Crowley’s application appears to be in order.

Accordingly, IT IS HEREBY ORDERED that Plaintiff's motion to admit
Ms. Crowley pro hac vice is GRANTED, subject to the following conditions:

Local counsel shall exercise the responsibilities required by L.R. 83.1(d)(5)
and must be designated as lead counsel or as co-lead counsel;

l. Megan A. Crowley must do her own work. She must do her own
writing, sign her own pleadings, motions, briefs and other documents served or
filed by her, and, if designated, co-lead counsel must appear and participate

personally in all proceedings before the Court.
Case 9:23-cv-00061-DLC Document 4-2 Filed 05/23/23 Page 2 of 2

2. The Applicant Attorney shall take steps to register in the Court’s
electronic filing system (“CM-ECF”). Further information is available on the
Court’s website, www.mtd.uscourts.gov.

3. Local counsel shall also sign all such pleadings, motions and briefs
and other documents served or filed.

4, Admission is personal to Megan A. Crowley.

5. Local counsel will provide a copy of this order to pro hac counsel.

IT IS FURTHER ORDERED that:

Megan A. Crowley shall file, within fifteen (15) days from the date of this

Order, an acknowledgement and acceptance of her admission under the terms set

forth above.

DATED this day of. , 2023.

 

Dana L. Christensen, District Judge
United States District Court
